Case 2:18-cv-07636-CJC-JC Document 151 Filed 08/11/20 Page 1 of 2 Page ID #:7457




    1   Stephen G. Larson (SBN 145225)
    2   slarson@larsonobrienlaw.com
        Koren L. Bell (SBN 268614)
    3   kbell@larsonobrienlaw.com
    4   A. Alexander Lowder (SBN 269362)
        alowder@larsonobrienlaw.com
    5   LARSON O’BRIEN LLP
    6   555 South Flower Street, Suite 4400
        Los Angeles, California 90071
    7   Telephone: (213) 436-4888
        Facsimile: (213) 623-2000
    8
        Attorneys for Defendants, COUNTY OF
    9   LOS ANGELES, COUNTY OF LOS
        ANGELES SHERIFF’S DEPARTMENT,
   10   SHERIFF JIM MCDONNELL, LAUREN
        BROWN, JAMES MURREN, DONALD
   11   YOUNG
   12
                          UNITED STATES DISTRICT COURT
   13
                         CENTRAL DISTRICT OF CALIFORNIA
   14

   15                                            Case No. 2:18-CV-07636-CJC-JCx
        LAMONT TARKINGTON,
   16                                            [Hon. Cormac J. Carney]
                          Plaintiffs,
   17                                            STATUS REPORT RE
              v.                                 SETTLEMENT
   18

   19   COUNTY OF LOS ANGELES, et al.,
   20                     Defendants.
   21

   22

   23

   24

   25

   26

   27

   28


                                  STATUS REPORT RE SETTLEMENT
Case 2:18-cv-07636-CJC-JC Document 151 Filed 08/11/20 Page 2 of 2 Page ID #:7458




    1         Defendants County of Los Angeles (the “County”), Los Angeles County
    2   Sheriff’s Department (“LASD”), Sheriff Jim McDonnell, Lauren Brown, James
    3   Murren, and Donald Young (collectively, “Defendants”) hereby provide the Court
    4   with an update regarding the status of the settlement in this case.
    5         On August 4, 2020, the Board of Supervisors of the County of Los Angeles
    6   approved the settlement between Plaintiff Lamont Tarkington and the County.
    7
        Dated: August 11, 2020                 LARSON O’BRIEN LLP
    8

    9                                          By: s/ A. Alexander Lowder
                                                     Stephen G Larson
   10                                                Koren L. Bell
                                                     A. Alexander Lowder
   11                                          Attorneys for Defendants COUNTY OF LOS
                                               ANGELES; COUNTY OF LOS ANGELES
   12                                          SHERIFF’S DEPARTMENT; SHERIFF JIM
                                               MCDONNELL; LAUREN BROWN; JAMES
   13                                          MURREN; DONALD YOUNG
   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                  1
                                    STATUS REPORT RE SETTLEMENT
